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  1                     UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
  2                           ORLANDO DIVISION

  3                   Docket No. 6:11-cr-288-Orl-22GJK

  4 . . . . . . . . . . . . . . .
    UNITED STATES OF AMERICA    :
  5                             :                   Orlando, Florida
                 Plaintiff        :                 October 23, 2012
  6                               :                 9:15 a.m.
                    v.            :
  7                               :
      KEMO DOWE                   :
  8                               :
                Defendant         :
  9   . . . . . . . . . . . . . . .

 10

 11                       TRANSCRIPT OF SENTENCING
                    BEFORE THE HONORABLE ANNE C. CONWAY
 12                    UNITED STATES DISTRICT JUDGE

 13

 14 APPEARANCES:

 15

 16 For the Plaintiff:       E. Jackson Boggs

 17

 18 For the Defendant:       Roger Weeden

 19

 20
      Court Reporter:        Sandra K. Tremel, RMR/CRR
 21                          407-245-3110

 22

 23

 24 Proceedings recorded by mechanical stenography, transcript

 25 produced by computer-aided transcription.
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  1                         P R O C E E D I N G S

  2              THE COURT:    Case number 2011-288, United States v.

  3 Kemo Dowe.

  4        Could we have appearances, please?

  5              MR. BOGGS:    Good morning, Your Honor.       Jackson

  6 Boggs for the United States.

  7              MR. WEEDEN:    Roger Weeden here for Mr. Dowe to my

  8 right.

  9              THE COURT:    Would you all come forward to the

 10 podium, please.

 11        Good morning, Mr. Dowe.

 12              THE DEFENDANT:     Good morning, ma'am.

 13              THE COURT:    On June 26th, 2012, you entered a plea

 14 of guilty to count one of the indictment charging you with

 15 conspiracy to distribute and possession with intent to

 16 distribute cocaine base, cocaine hydrochloride, marijuana

 17 and MDMA and BZP in violation of Title 21, United States

 18 Code, sections 846, 841(a)(1) and 841(b)(1)(a).

 19        We have now reached the stage in the proceeding where

 20 it's my duty to address several questions to you and your

 21 attorney as well as counsel for the government.

 22        Have you had the opportunity to read the presentence

 23 report and discuss it with your attorney?

 24              THE DEFENDANT:     Yes, ma'am.

 25              THE COURT:    Counsel, do you have any objections?
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  1              MR. WEEDEN:    No objections, Judge.      There was --

  2 he pointed out to me there's one more correction we wanted

  3 to have made.      It's on page 72.     It notes to the paragraph

  4 72 -- paragraph -- I'm sorry -- paragraph 73 refers to

  5 Kendra Chestnut as his daughter.         That's his son.

  6              THE COURT:    Okay.   Anything further?

  7              MR. WEEDEN:    No, Your Honor.

  8              THE COURT:    Anything from the government?

  9              MR. BOGGS:    No, Your Honor.

 10              THE COURT:    There being objections to the factual

 11 statements contained in the presentence report, the Court

 12 adopts those statements as its finding of fact and

 13 determines that the advisory guidelines are total offense

 14 level 34, criminal history category VI; 262 to 327 months

 15 imprisonment; five years supervised release; enhanced

 16 penalty is 10 years; restitution is not applicable; $17,500

 17 to $20 million fine; $100 special assessment.

 18        Do you know of any reason why I should not now proceed

 19 with the imposition of sentence?

 20              MR. WEEDEN:    No, Your Honor.

 21              MR. BOGGS:    Your Honor, the enhanced penalty is 20

 22 years.

 23              THE COURT:    Okay.   Enhanced penalty is 20 years.

 24        Do you wish to make a statement or present any

 25 information in mitigation?
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  1              MR. WEEDEN:    Judge, it's a very unfortunate

  2 situation we're faced with here today.          Really this is a

  3 sentence that's almost predetermined by the Congress.

  4              THE COURT:    Mr. Boggs decided this sentence by

  5 filing the enhancement for very minor prior convictions.

  6              MR. WEEDEN:    And then -- and so essentially

  7 Congress and the Department of Justice has decided this

  8 sentence.

  9              THE COURT:    Right.

 10              MR. WEEDEN:    I have talked to --

 11              THE COURT:    This is not my sentence.      This

 12 sentence is going to be far higher than it should be.             The

 13 10 years would have been questionable as to whether that was

 14 reasonably necessary.       Two hundred and forty months, which I

 15 have no option but to impose, it's not my sentence.             It's

 16 not fair, it's not reasonable, and is a travesty of justice

 17 and the Department of Justice should be embarrassed to have

 18 filed that enhancement.        I think you know what my position

 19 is on this case.      So anything you would like to provide,

 20 there's nothing I can do about this sentence.           It's 240

 21 months.

 22              MR. WEEDEN:    And I agree, Judge.

 23        He has family members here today and I tried to explain

 24 that to them and they certainly find this position we're in

 25 to be --
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  1              THE COURT:    Well, they should contact the senators

  2 and the congressmen because this is outrageous.

  3              MR. WEEDEN:    I told --

  4              THE COURT:    Now Mr. -- let's not make any bones

  5 about this.      Mr. Dowe is not a saint, but he should be given

  6 an opportunity for rehabilitation in a reasonable period of

  7 time, especially considering the fact that he's only spent

  8 61 days in jail in his entire life.          I don't know what

  9 message this is sending except for a horrible message, but

 10 be that as it may.

 11        Mr. Dowe, would you like to say something?

 12              THE DEFENDANT:     Yes, ma'am.    I'd just like to

 13 apologize to the Court and the United States government and

 14 to my family about everything that just happened and I know

 15 I don't deserve all this time, but --

 16              THE COURT:    Well, you should still try to make the

 17 best of it.

 18              THE DEFENDANT:     Yes, ma'am, I will.

 19              THE COURT:    All right.

 20              MR. WEEDEN:    I tried to explain to Mr. Dowe as

 21 well that within the year if he were to provide cooperation,

 22 substantial assistance, that perhaps we could come back for

 23 a Rule 35.     We talked about that.      He feels that people that

 24 were all involved have all pled.         He's not really sure --

 25 he's telling me he can't provide any further information.
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  1 But the government thinks that he might know of some other

  2 individuals out there that were not indicted.           And I

  3 certainly continue to encourage Mr. Dowe if he thinks of

  4 somebody and I would certainly do my best to get him in for

  5 a proffer to try to do something to get around this, but at

  6 this point we have not reached that.

  7              THE COURT:    All right.    Would you like to present

  8 any additional information?

  9              MR. WEEDEN:    No, Your Honor.     I'd just like to

 10 acknowledge the people that's here today.           Everybody here

 11 for Kemo Dowe, please stand up.

 12              UNIDENTIFIED PERSON:      Can we say something?      Did

 13 you read the letter?

 14              THE COURT:    You can say what you want.       I don't

 15 have any discretion.       This sentence is predetermined.

 16 There's nothing I can do about this sentence.

 17              UNIDENTIFIED PERSON:      Who do we talk to?

 18              THE COURT:    Your senator and your congressman and

 19 Mr. Boggs.     It's their sentence.

 20              UNIDENTIFIED PERSON:      Because this is inhumane for

 21 this man who did 61 days out of his whole life and get a

 22 just a regular sentence of 20 years?          Where in the United

 23 States did we do this?       This is not America.      Are you

 24 kidding me?      He didn't kill nobody.

 25              UNIDENTIFIED PERSON:      No robbery, no murder, no
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  1 rape, no home invasion, nothing like that.

  2              UNIDENTIFIED PERSON:      You want him to tell on

  3 people that's already been convicted?

  4              THE COURT:    You know, all I can tell you is write

  5 your congressman and your senators because there's nothing

  6 that I can do about this.

  7              UNIDENTIFIED PERSON:      Can I say something?

  8              THE COURT:    Sure.

  9              UNIDENTIFIED PERSON:      His attorney says he won't

 10 cooperate but no agents ever approach him.

 11              THE COURT:    Well, see, I'm not allowed to get

 12 involved in that.       That's between --

 13              UNIDENTIFIED PERSON:      But my thing --

 14              THE COURT:    -- between Mr. Dowe and his attorney

 15 and Mr. Boggs.      That's not something --

 16              UNIDENTIFIED PERSON:      He should be given a chance.

 17 If you don't give him the opportunity to work and do

 18 something, how is he going do it?         You got a lawyer who

 19 don't have no respect, just -- just -- just noncompliant of

 20 nothing.

 21              THE COURT:    Okay.   Well, I understand your

 22 frustrations.      I share in your frustration.       There's just

 23 nothing we can do about it today.

 24              UNIDENTIFIED PERSON:      It's ridiculous.

 25              MR. WEEDEN:    I can tell the Court if Mr. Dowe
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  1 tells me he wants to talk to some agents, have some

  2 information to provide to them, I will certainly arrange for

  3 them to talk to them, but until to this point he's told me

  4 he doesn't want to talk to any agents, Judge.           And I

  5 appreciate and I understand their anger about this, but I

  6 would certainly never stand back a client in terms of

  7 talking to an agent.       I'd certainly want the agent --

  8              THE COURT:    I would assume the government would

  9 also like to get whatever information they can.

 10        Mr. Boggs, would you like to say anything?

 11              MR. BOGGS:    Yes, Your Honor.

 12        As you know, our office policy is to file enhancements

 13 where they're available.        That's our office's interpretation

 14 of the Attorney General's memorandum, that we have to file

 15 them for the most serious readily proveable charge and

 16 that's what we have done in this case.          As you know, in this

 17 case there are 15 defendants in this case, and I think I

 18 filed substantial assistance motions for eight, nine, a very

 19 large number of them.       I've had scores of meetings with

 20 defendants, and even today the opportunity is not foreclosed

 21 to Mr. Dowe to come in and talk with us.          We have been ready

 22 and available from the beginning of this case.           And

 23 unfortunately Mr. Dowe has chosen not to talk with us.             If

 24 he changes his mind, I can say I told his attorney that

 25 there are other people related to this case that we are
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  1 looking at charging, and I do believe that he knows these

  2 people and would have information with regard to these

  3 people.     I have communicated that to his attorney throughout

  4 the course of this case.

  5        Mr. Dowe, as you mentioned, does have a serious

  6 criminal history.       I'm sorry that he did not avail himself

  7 of the opportunity.

  8              THE COURT:    I disagree with you that he has a

  9 serious criminal history.        That's the problem in this case,

 10 but go ahead.

 11              MR. BOGGS:    Well, it's a penalty that under the

 12 guidelines is in excess of the mandatory minimum.            So under

 13 the guidelines it certainly is a serious, serious criminal

 14 history.     But in any event, he has substantial assistance

 15 language in his plea agreement and the opportunity is not

 16 foreclosed, but I can't make him come to the table.

 17              THE COURT:    The Court has asked the defendant why

 18 judgment should not now be pronounced.          After hearing the

 19 defendant's response the Court has found no cause to the

 20 contrary.     The parties have made statements on their behalf

 21 or have waived the opportunity to do so.

 22        The Court has reviewed the presentence report and the

 23 advisory guidelines.       Pursuant to Title 18, United States

 24 Code, Sections 3551 and 3553, it is the judgment of the

 25 Court based upon the mandatory minimum that you are hereby
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   1 committed to the custody of the Bureau of Prisons to be

   2 imprisoned for a term of 240 months.         Upon release from

   3 imprisonment you shall be placed on supervised release for a

   4 term of 10 years.

   5        The mandatory drug testing requirements of the Violent

   6 Crime Control Act are imposed.        The Court orders you to

   7 submit to random drug testing not to exceed 104 tests per

   8 year.

   9        While on supervised release you shall comply with the

  10 standard conditions adopted by the Court in the Middle

  11 District of Florida.

  12        In addition, you shall participate in a substance abuse

  13 program and follow the probation officer's instructions

  14 regarding the implementation of this Court directive.

  15        Further, you shall contribute to the cost of these

  16 services not to exceed an amount determined reasonable by

  17 the probation office's sliding scale for substance abuse

  18 treatment services.

  19        During and upon completion of this program you're

  20 directed to submit to random drug testing.

  21        You shall cooperate in the collection of DNA as

  22 directed by the probation officer.

  23        Based upon your limited financial status, the fine is

  24 waived.    In lieu of paying a fine, you shall perform 50

  25 hours of community service as a condition of supervised
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   1 release.

   2        It's further ordered that you shall pay to the United

   3 States a special assessment of $100 which is due

   4 immediately.

   5        It's further ordered you shall forfeit to the United

   6 States any assets previously identified in the plea

   7 agreement that are subject to forfeiture.

   8        The guideline range exceeds 24 months.        The reason for

   9 imposing the selected sentence is the mandatory minimum.

  10        The Court has accepted the plea agreement because it is

  11 satisfied that the agreement adequately reflects the

  12 seriousness of the actual offense behavior, that accepting

  13 the plea agreement will not undermine the statutory purposes

  14 of sentencing.

  15        You're hereby remanded to the custody of the United

  16 States Marshal to await designation by the Bureau of

  17 Prisons.

  18        The Court requests that you be placed at Coleman so

  19 that you can be close to your family.

  20        The Court having pronounced sentence, does counsel for

  21 the defendant or the government have any objections to the

  22 sentence or to the manner in which the Court has pronounced

  23 sentence?

  24              MR. BOGGS:    No, Your Honor.

  25              MR. WEEDEN:    No lawful objection, Judge.
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   1              THE COURT:    To the extent permitted by your plea

   2 agreement, you are now advised that it is your right to

   3 appeal from this sentence within 14 days of today's date or

   4 from the date judgment is recorded, whichever is later.

   5 Failure to appeal within the 14 day period shall be a waiver

   6 of your right to appeal.       The government may file an appeal

   7 from this sentence.       You're also advised that you're

   8 entitled to assistance of counsel in taking an appeal.            If

   9 you're -- are you court appointed?

  10              MR. WEEDEN:    Yes.

  11              Mr. Weeden will continue to represent you in that

  12 regard unless permitted to withdraw.

  13                (sentencing concluded at 9:29 a.m.)

  14                         C E R T I F I C A T E

  15              I certify that the foregoing is a correct

  16 transcript from the record of proceedings in the

  17 above-entitled matter.

  18

  19 s\Sandra K. Tremel                   October 26, 2012

  20

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